Case 1:21-cr-00091-RCL Document 43 Filed 02/16/21 Page 1 of 14
Case 1:21-cr-00091-RCL Document 43 Filed 02/16/21 Page 2 of 14
Case 1:21-cr-00091-RCL Document 43 Filed 02/16/21 Page 3 of 14
Case 1:21-cr-00091-RCL Document 43 Filed 02/16/21 Page 4 of 14
Case 1:21-cr-00091-RCL Document 43 Filed 02/16/21 Page 5 of 14
Case 1:21-cr-00091-RCL Document 43 Filed 02/16/21 Page 6 of 14
Case 1:21-cr-00091-RCL Document 43 Filed 02/16/21 Page 7 of 14
Case 1:21-cr-00091-RCL Document 43 Filed 02/16/21 Page 8 of 14
Case 1:21-cr-00091-RCL Document 43 Filed 02/16/21 Page 9 of 14
Case 1:21-cr-00091-RCL Document 43 Filed 02/16/21 Page 10 of 14
Case 1:21-cr-00091-RCL Document 43 Filed 02/16/21 Page 11 of 14
8/10/2021             Case 1:21-cr-00091-RCL Document 43 Filed
                                                 WAWD CM/ECF       02/16/21
                                                             Version 1.5.2  Page 12 of 14

                                     Query      Reports         Utilities    Help    What's New    Log Out

                                                                                                  BOND,CLOSED,PASSPORT

                                          U.S. District Court
            United States District Court for the Western District of Washington (Tacoma)
                   CRIMINAL DOCKET FOR CASE #: 3:21-mj-05036-DWC-1


 Case title: USA v. Johnatakis                                                      Date Filed: 02/11/2021
 Other court case number: 1:21-CR-00091-RCL District of                             Date Terminated: 02/11/2021
                           Columbia


 Assigned to: Judge David W. Christel

 Defendant (1)
 Taylor James Johnatakis                                             represented by Christopher R Black
 TERMINATED: 02/11/2021                                                             BLACK & ASKEROV PLLC
                                                                                    705 2ND AVE #1111
                                                                                    SEATTLE, WA 98104
                                                                                    206-623-1604
                                                                                    Email: chris@blacklawseattle.com
                                                                                    ATTORNEY TO BE NOTICED

 Pending Counts                                                                     Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                  Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                         Disposition
 18:1512(c)(2),2 - Obstruction of an Official
 Proceeding; 18:111(a)(1) - Assaulting,
 Resisting, or Impeding Officers; 18:231(a)
 (3) - Civil Disorder; 18:1752(a)(1) -
 Entering and Remaining in a Restricted
 Building; 18:1753(a)(2) - Disorderly
 Conduct in a Restricted Building;
 18:1752(a)(4) - Engaging in Physical
 Violence in a Restricted Building;
 40:5104(e)(2)(E) - Impeding Passage
https://wawd-ecf.sso.dcn/cgi-bin/DktRpt.pl?930628523317513-L_1_0-1                                                     1/3
8/10/2021         Case 1:21-cr-00091-RCL Document 43 Filed
                                             WAWD CM/ECF       02/16/21
                                                         Version 1.5.2  Page 13 of 14
 Through the Capitol Grounds; 40:5104(e)
 (2)(F) - Act of Physical Violence in the
 Capitol Grounds or Buildings



 Plaintiff
 USA                                                                 represented by William Kennelly Dreher
                                                                                    US ATTORNEY'S OFFICE (SEA)
                                                                                    700 STEWART ST
                                                                                    STE 5220
                                                                                    SEATTLE, WA 98101-1271
                                                                                    206-553-7970
                                                                                    Email: william.dreher@usdoj.gov
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: Assistant US Attorney

  Date Filed            #    Docket Text
  02/11/2021            1 NOTICE OF ATTORNEY APPEARANCE: Christopher R Black appearing for Taylor
                          James Johnatakis (Black, Christopher) (Entered: 02/11/2021)
  02/11/2021            3 CHARGING DOCUMENT RECEIVED FROM OTHER COURT (Indictment, Warrant)
                          as to Taylor James Johnatakis (KEB) (Entered: 02/11/2021)
  02/11/2021                 Arrest of Taylor James Johnatakis on 2/11/2021. (KEB) (Entered: 02/11/2021)
  02/11/2021            4 Minute Entry for proceedings held before Judge David W. Christel- CRD: Kim Brye;
                          AUSA: William Dreher; Def Cnsl: Christopher Black; PTS: Jamie Halvorson; Time of
                          Hearing: 2:30 PM; Session #: Zoom Audio/Video; INITIAL APPEARANCE IN RULE
                          5(c)(3) PROCEEDINGS VIA ZOOM as to Taylor James Johnatakis held on 2/11/2021.
                          Defendant present via Zoom from Tacoma Courthouse. Defendant consents to video
                          appearance. Defendant advised of rights and charges. Defendant files Waiver of Rule 5
                          Hearing. Court signs Order of Transfer. Parties discuss conditions of release. Defendant
                          placed on bond. (KEB) (Entered: 02/11/2021)
  02/11/2021            5 Appearance Bond Entered as to Taylor James Johnatakis (1) PTS bond with standard and
                          special conditions. (cc: PTS/USPO/USMO) (KEB) (Entered: 02/11/2021)
  02/11/2021            6 WAIVER OF RULE 5 HEARINGS AND ORDER OF TRANSFER to District of
                          Columbia as to Taylor James Johnatakis by Judge David W. Christel. (cc: PTS, USMO)
                          (KEB) (Entered: 02/11/2021)
  02/11/2021            7 Arrest Warrant Returned Executed on 2/11/2021 in case as to Taylor James Johnatakis.
                          (KEB) (Entered: 02/11/2021)
  02/11/2021            8 The Court Orders as follows: Pursuant to the Due Process Protection Act, counsel for the
                          government is reminded of his/her obligations pursuant to Brady v. Maryland and its
                          progeny to disclose exculpatory material and information, as required by applicable statute
                          and case law. The failure to do so in a timely manner may result in dismissal of the
                          indictment or information, dismissal of individual charges, exclusion of government
                          evidence or witnesses, or any other remedy that is just under the circumstances. By Judge
                          David W. Christel. (No.pdf image attached) (KEB) (Entered: 02/12/2021)
  02/12/2021            9 LETTER from WD/WA to District of Columbia re Rule 5 transfer as to defendant Taylor
                          James Johnatakis (KEB) (Main Document 9 replaced on 2/12/2021) (KEB). (Entered:
https://wawd-ecf.sso.dcn/cgi-bin/DktRpt.pl?930628523317513-L_1_0-1                                                       2/3
8/10/2021             Case 1:21-cr-00091-RCL Document 43 Filed
                                                 WAWD CM/ECF       02/16/21
                                                             Version 1.5.2  Page 14 of 14
                          02/12/2021)
  02/12/2021           10 NOTICE of Corrected Image/Document (correcting hearing date) as to defendant Taylor
                          James Johnatakis re 9 Letter. (Service of corrected image is attached). (KEB) (Entered:
                          02/12/2021)
  02/19/2021           11 Receipt for Surrender of Passport as to Taylor James Johnatakis. Passport issued by USA.
                          Stored at Seattle office. (KMP) (Entered: 02/26/2021)




https://wawd-ecf.sso.dcn/cgi-bin/DktRpt.pl?930628523317513-L_1_0-1                                                   3/3
